Case 2:04-cr-20388-SH|\/| Document 73 Filed 06/08/05 Page 1 of 2 Page|D 99

IN THE UNITED sTATEs DISTRICT coURT Fn£DlY!&&£i_uc.
FoR THE wEsTERN DIsTRIcT oF TENNESSEE
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UNITED sTATES oF AMERICA, Wfl GF`~ TN, MEMPH!S

Plaintiffl
CR. NO. 04-20388-Ma

VS.

HAROLD L. YANCY,
JERRY B. RODGERS,

~_/\-._/~_»¢~_/-_/~_l`,¢~..,~..,-_.,

Defendants.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on April 21, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning July 5, 2005 at 9:30 a.m., with a report
date of Friday, June 24, 2005 at 2:00 p.m.

The period from April 21, 2005 through July l5, 2005 is
excludable under 18 U.S.C. § BlSl(h)(S)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

__3__\§__ day Of May, 2005.

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SAMUEL H. MAYS, JR.
C?// MED STATES DISTRICT JUDGE

IT IS SO ORDERED this

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 73 in
case 2:04-CR-20388 Was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

